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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

UTAH TAXPAYERS ASSOCIATION,                           )
a Utah nonprofit corporation,                         )
                                                      )
UTAH TAXPAYERS LEGAL                                  )
FOUNDATION, a Utah nonprofit corporation,             )
and                                                   )
                                                      )
LIBERTAS INSTITUTE, a Utah nonprofit                  )
corporation,                                          )   VERIFIED COMPLAINT
                                                      )   FOR DECLARATORY AND
       Plaintiffs,                                    )   INJUNCTIVE RELIEF
                                                      )
                        v.                            )
                                                      )
SPENCER COX, in his official capacity as              )
Utah Lieutenant Governor,                             )
                                                      )
SEAN REYES, in his official capacity as Utah          )   Civil Action No. _______________
Attorney General,                                     )
                                                      )
JEFF BUHMAN, in his official capacity as              )
Utah County Attorney, and                             )
                                                      )
SIM GILL, in his official capacity as Salt Lake       )
County District Attorney,                             )
                                                      )
       Defendants.                                    )




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                                   NATURE OF ACTION

1. This case challenges certain provisions of House Bill 43, “Campaign Finance Reporting By

   Corporations,” 2013 Utah Laws 318, as codified at Utah Code Ann. §§ 20A-11-101(40)

   (definition of “political purposes”); 20A-11-101(39) (definition of “political issues

   expenditure”); 20A-11-701 (reporting requirements entity defined as a “corporation” making

   “expenditures”); and 20A-11-702 (reporting requirements entity defined as a “corporation”

   making “political issues expenditures”).

2. Plaintiff Utah Taxpayers Association is a nonprofit corporation organized under the Internal

   Revenue Code (“IRC”) (26 U.S.C.) § 501(c)(4) and Utah Code Ann. § 16-6a-102(34).

3. Plaintiff Utah Taxpayers Legal Foundation is a nonprofit corporation organized under IRC

   § 501(c)(3) and Utah Code Ann. § 16-6a-102(34).

4. Plaintiff Libertas Institute is a nonprofit corporation organized under IRC § 501(c)(3) and

   Utah Code Ann. § 16-6a-102(34).

5. Under certain provisions of Utah’s campaign finance laws, Plaintiffs Utah Taxpayers

   Association, Utah Taxpayers Legal Foundation, and Libertas Institute (collectively

   “Plaintiffs”) will be forced to file reports with the Lieutenant Governor. Such reports are

   burdensome and will require disclosure of each organization’s confidential information,

   including the identities and home addresses of its contributors. Plaintiffs believe such

   mandatory reporting is unconstitutional under the First and Fourteenth Amendments.

6. Furthermore, under certain provisions of Utah’s campaign finance laws, Plaintiffs will be

   forced to engage in compelled speech with their contributors, in violation of the First and

   Fourteenth Amendments.



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7. Plaintiffs also believe that certain provisions of Utah’s campaign finance laws violate the

   Equal Protection Clause by impermissibly favoring labor organizations over corporations.

8. Plaintiffs reasonably fear that, should they fail to disclose their contributors, or report to the

   Attorney General as demanded, they and/or their officers may be subject to enforcement

   actions, investigations, and penalties levied by Defendants and their agents.

9. Utah’s election laws function to chill discussion of state government and public issues by

   imposing vague and arbitrary regulatory burdens upon would-be speakers, such as the Utah

   Taxpayers Association, Utah Taxpayers Legal Foundation, and Libertas Institute, who

   merely wish to discuss the issues of the day.

                                         JURISDICTION

10. This Court has jurisdiction because this action arises under the First and Fourteenth

   Amendments to the United States Constitution. 28 U.S.C. § 1331 (federal question

   jurisdiction).

11. This Court also has jurisdiction because this action arises under Section 1 of the Civil Rights

   Act of 1871. See 42 U.S.C. §§ 1983, 1988; 28 U.S.C. § 1343(a).

                                             VENUE

12. Venue is proper under 28 U.S.C. §§ 1391(b)(1) (“a judicial district in which any defendant

   resides, if all defendants are residents of the State in which the district is located”) and (b)(2)

   (“a judicial district in which a substantial part of the events or omissions giving rise to the

   claim occurred”).




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                                        THE PARTIES

13. Plaintiff Utah Taxpayers Association was founded in 1922 and has slightly more than 1,000

   current members. The Utah Taxpayers Association’s mission is to enhance efficient,

   economical government by advocating for a tax code that is fair and equitable, a state

   education system that prepares the next generation of Utahns to succeed in the 21st century

   global economy, and a regulatory environment that limits the burdens on business. It is a

   nonprofit corporation organized under IRC § 501(c)(4) and Utah Code Ann. § 16-6a-102(34).

   It is headquartered in Draper, Utah, in Salt Lake County.

14. Plaintiff Utah Taxpayers Legal Foundation was founded in 1992 under IRC § 501(c)(3) and

   Utah Code Ann. § 16-6a-102(34). The Utah Taxpayers Legal Foundation’s mission is to

   educate the citizens of the state of Utah as to their privileges and rights under the

   Constitution and laws of the United States and of the state of Utah, to secure equal protection

   of those laws, and to defend the human and civil rights of Utah’s citizens. It is headquartered

   in Draper, Utah, in Salt Lake County.

15. Plaintiff Libertas Institute is a nonprofit educational and research organization founded in

   December 2011 under IRC § 501(c)(3) and Utah Code Ann. § 16-6a-102(34). Its mission is

   to advance the cause of liberty in Utah by holding public events, producing original

   literature, offering model legislation, and advocating for the principles of individual liberty,

   private property, and free enterprise. It is headquartered in Lehi, Utah, in Utah County.

16. Defendant Spencer Cox is the current Lieutenant Governor of Utah, and, accordingly, he is

   sued in his official capacity as the state official charged with administering and enforcing

   Utah’s campaign finance laws. See Utah Code Ann. §§ 20A-11-101(5)(a) (defining the



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   Lieutenant Governor as the “Chief election officer”); 20A-11-701(1)(a) (imposing filing

   requirements “with the lieutenant governor’s office” for corporations filing campaign finance

   reports); and 20A-11-703(2-3) (vesting the Lieutenant Governor with the ability to levy fines

   against corporations who fail to file such reports).

17. Defendant Sean Reyes is the current Attorney General of Utah, and, accordingly, he is sued

   in his official capacity as the state official charged with enforcement of Utah’s criminal laws.

   Utah Code Ann. §§ 67-5-1(13) (Attorney General empowered to “institute and prosecute

   proper proceedings in any court of the state or of the United States to restrain and enjoin

   corporations organized under the laws of this or any other state or territory from acting

   illegally or in excess of their corporate powers or contrary to public policy”); 20A-11-703(3)

   (providing enforcement powers to Attorney General for violations of Utah’s campaign

   finance laws).

18. Defendant Jeff Buhman is the County Attorney of Utah County, and, accordingly, he is sued

   in his official capacity, pursuant to his power to bring charges in state court for violations of

   Utah law. See Utah Code Ann. §§ 17-18a-401(1); 17-18a-801.

19. Defendant Sim Gill is the District Attorney of Salt Lake County, and, accordingly, he is sued

   in his official capacity, pursuant to his power to bring charges in state court for violations of

   Utah law. See Utah Code Ann. §§ 17-18a-401(1); 17-18a-801.

                                            THE FACTS

20. This case arises from portions of Title 20A, Chapter 11 of the Utah Code, as amended by

   House Bill 43 (“H.B. 43”), as enrolled. 2013 Utah Laws 318. It was signed into law on April

   1, 2013, and went into effect on May 14, 2013. Minor amendments to the regulations created



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   by H.B. 43 were signed into law in March 2015 and went into effect on May 12, 2015. See

   House Bill 120, 2015 Utah Laws 204 and Senate Bill 207, 2015 Utah Laws 296.

21. The Utah Taxpayers Association was founded in 1922, and it strives to ensure that Utah is

   governed efficiently and economically. The organization largely focuses on tax and

   education policy.

22. The Utah Taxpayers Association is not under the control of any political candidate or

   political party.

23. It is a corporation within the meaning of Utah Code Ann. § 20A-11-101(8).

24. The current president of the Utah Taxpayers Association is Howard Stephenson.

25. The Association carries out its mission in a number of ways. It holds events and

   conferences; hosts debates; operates an organizational Facebook and Twitter account;

   publishes the Utah Taxpayer, a monthly newsletter; lobbies; publishes reports analyzing the

   budgets of Utah’s school districts, cities, and counties; and intervenes in political

   campaigns—local and statewide—in the state of Utah.

26. The Utah Taxpayers Association is a § 501(c)(4) organization, recognized as such by the

   Internal Revenue Service.

27. In 2014, the Utah Taxpayers Association spent funds to encourage citizens to vote on two

   ballot issues.




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28. The 2014 “UTOPIA 1 Campaign” included a petition website and the distribution of mailers,

    yard signs, and t-shirts. The “UTOPIA Campaign” centered on local municipalities’ fiscal

    policy and debt in connection with telecommunications infrastructure.

29. Another 2014 campaign centered on the Eagle Mountain City Electric System sale. The

    Association supported the privatization of the utility and distributed yard signs in connection

    with a related ballot measure.

30. Moreover, in endorsing or opposing bills before the state legislature, the Utah Taxpayers

    Association frequently lists the chief sponsor of the bill.2 In addition, the Utah Taxpayers

    Association issues a legislative scorecard indicating the number of times state legislators

    have voted in support of or in opposition to the Taxpayers Association’s recommended

    position on bills.3




1
   “UTOPIA” stands for “Utah Telecommunication Open Infrastructure Agency.” About
UTOPIA, http://www.utopianet.org/about-utopia/ (last visited Nov. 10, 2015); see Ex. A. It is a
utility operating municipal telecommunications infrastructure systems in eleven Utah service
areas. UTOPIA FAQ, http://www.utopianet.org/faq/ (last visited Nov. 10, 2015); see Ex. B.
2
 See, eg., Vote NO on HB 246, http://www.utahtaxpayers.org/wp-
content/uploads/2013/02/VOTE-NO-on-HB-246.pdf (last visited Nov. 10, 2015), Ex. C; Vote
NO on SB 267, http://www.utahtaxpayers.org/wp-content/uploads/2013/03/VOTE-NO-on-SB-
267.pdf (last visited Nov. 10, 2015), Ex. D; Vote YES on SB 27,
http://www.utahtaxpayers.org/wp-content/uploads/2012/02/VOTE-YES-on-SB-27.pdf (last
visited Nov. 10, 2015), Ex. E; 2015 Utah Taxpayers Association Legislative Watchlist,
http://www.utahtaxpayers.org/wp-content/uploads/2015/03/2015-Watchlist-FINAL.pdf (last
visited Nov. 10, 2015), Ex. F.
3
 See, eg., Utah Taxpayers Association – 2015 Legislative Scorecard,
http://www.utahtaxpayers.org/wp-content/uploads/2015/04/2015-Scorecard-Website.pdf (last
visited Nov. 10, 2015), Ex. G.



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31. But the Utah Taxpayers Association’s major purpose is not advocacy concerning ballot

    issues or candidate campaigns. In 2014, it spent 16% of its budget on such activities—far less

    than 50 percent.

32. The Utah Taxpayers Association has never been registered as a political action committee

    (“PAC”) or as a political issues committee (“PIC”), as those terms are understood under

    relevant Utah law. Utah Code Ann. §§ 20A-11-101(34) (defining PAC); 20A-11-101(37)

    (defining PIC).

33. In 2016, and in future years, the Utah Taxpayers Association intends to engage in materially

    similar advocacy and communications to those undertaken in 2014 and other years. In

    particular, it would like to engage in such activity in counties where Proposition 1 is

    introduced for the first time or reintroduced, either endorsing or opposing the measure based

    on county needs. 4

34. The Utah Taxpayers Association intends to spend a substantially similar percentage of its

    budget on such activity in 2016 as it spent in 2014. It will spend no more than 20% of its

    budget in connection with those efforts.

35. In 2015, the Utah Taxpayers Association wanted to weigh in on Proposition 1 in some

    counties, either in support or opposition, but it refrained from spending money on advocacy

    and communications as it had in the past because it feared triggering the disclosure regime

    codified at Utah Code Ann. § 20A-11-701, et seq. Absent an injunction prohibiting

4
 Officials from Summit and Washington Counties, for example, have indicated that they may
put the measure on the ballot in November 2016. See Utah League of Cities and Towns, HB 362
– Transportation Infrastructure Funding at 4, http://www.ulct.org/wp-
content/uploads/sites/4/2015/08/HB-362-Informational-Packet-Final-Data.pdf (last visited Nov.
6, 2015); see Ex. H.



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   enforcement of the law against it in 2016 and other future election years, the Utah Taxpayers

   Association will not engage in any activity that would trigger the application of the

   disclosure regime.

36. Furthermore, the Utah Taxpayers Association fears that activities like its legislative

   scorecard, as well as disclosing the names of bill sponsors in endorsing or opposing bills or

   even mentioning the name of the Taxpayers Association’s president in its advocacy, could

   trigger the PAC regulation regime codified at Utah Code Ann. § 20A-11-601, et seq. Absent

   an injunction prohibiting enforcement of this law, the Utah Taxpayers Association will not

   engage in any activity that would trigger application of the PAC regulation regime.

37. As an IRC § 501(c)(3) organization, the Utah Taxpayers Legal Foundation is prohibited from

   engaging in candidate political activity. 26 U.S.C. §501(c)(3) (banning “participat[ion] in, or

   interven[tion] in (including the publishing or distributing of statements), any political

   campaign on behalf of (or in opposition to) any candidate for public office”).

38. Likewise, the Utah Taxpayers Legal Foundation may engage in only limited lobbying

   activity. 26 U.S.C. § 501(c)(3) (“no substantial part of the activities of which is carrying on

   propaganda, or otherwise attempting, to influence legislation”); 26 C.F.R 1.501(c)(3)-1(c)(3).

   This includes advocating for any ballot measure or legislative change in the law. It does not

   include education on public policy.

39. In 2015, the Utah Taxpayers Legal Foundation refrained from spending money on advocacy

   and communications regarding Proposition 1 because it feared triggering the disclosure

   regime codified at Utah Code Ann. § 20A-11-701, et seq. In 2016, it intends to engage in

   advocacy and communications regarding ballot issues and will spend no more than 20% of



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   its budget in connection with those efforts. In particular, the Utah Taxpayers Legal

   Foundation intends to engage in such advocacy regarding Proposition 1—supporting it in

   some counties and opposing it in others—in any counties introducing or reintroducing the

   measure. It also intends to engage in materially similar advocacy and communications

   regarding other ballot measures, in 2016 and in future years.

40. Many of the Utah Taxpayers Legal Foundation’s donors either fund its general work or a

   specific project that has nothing to do with the proposed tax increase under Proposition 1 or

   other specific measures, but the Foundation would still be required to divulge their

   information under the disclosure regime codified at Utah Code Ann. § 20A-11-701, et seq.

   The Foundation, however, feels compelled to honor the free association rights of its donors

   and the desire some have to remain anonymous.

41. Absent an injunction prohibiting enforcement of the law against it in 2016 and other election

   years, the Utah Taxpayers Legal Foundation will not engage in any activity that would

   trigger the application of the disclosure regime codified at Utah Code Ann. § 20A-11-701, et

   seq.

42. The Libertas Institute was founded in December 2011, and advocates for the principles of

   individual liberty, private property, and free enterprise in Utah.

43. The Libertas Institute is not under the control of any political candidate or political party.

44. It is a corporation within the meaning of Utah Code Ann. § 20A-11-101(8).

45. The current president of the Libertas Institute is Connor Boyack.

46. The Libertas Institute carries out its mission in a number of ways, including holding public

   events, producing original literature, and offering model legislation.



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47. The Libertas Institute’s major purpose is not advocacy concerning ballot issues or candidate

   campaigns.

48. The Libertas Institute has never been registered as a PAC or as a PIC, as those terms are

   understood under relevant Utah law. Utah Code Ann. §§ 20A-11-101(34) (defining PAC);

   20A-11-101(37) (defining PIC).

49. In 2015, the Libertas Institute refrained from spending money opposing Proposition 1

   because it feared triggering the disclosure regime codified at Utah Code Ann. § 20A-11-701,

   et seq. In 2016, it intends to engage in advocacy and communications regarding ballot issues

   and will spend no more than 20% of its budget in connection with those efforts. In particular,

   the Libertas Institute intends to oppose Proposition 1 in any counties introducing or

   reintroducing that measure. It also intends to engage in materially similar advocacy and

   communications regarding other ballot measures, in 2016 and in future years.

50. Many of the Libertas Institute’s donors either fund its general work or a specific project that

   has nothing to do with the proposed tax increase under Proposition 1 or other specific

   measures, but the Libertas Institute would still be required to divulge their information under

   the disclosure regime codified at Utah Code Ann. § 20A-11-701, et seq. The Libertas

   Institute, however, feels compelled to honor the free association rights of its donors and the

   desire some have to remain anonymous.

51. Absent an injunction prohibiting enforcement of the law against it in 2016 and other election

   years, the Libertas Institute will not engage in any activity that would trigger the application

   of the disclosure regime codified at Utah Code Ann. § 20A-11-701, et seq.




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52. As an IRC § 501(c)(3) organization, the Libertas Institute is also prohibited from engaging in

   candidate political activity. 26 U.S.C. §501(c)(3) (banning “participat[ion] in, or

   interven[tion] in (including the publishing or distributing of statements), any political

   campaign on behalf of (or in opposition to) any candidate for public office”).

53. Likewise, the Libertas Institute may engage in only limited lobbying activity. 26 U.S.C.

   §501(c)(3) (“no substantial part of the activities of which is carrying on propaganda, or

   otherwise attempting, to influence legislation”); 26 C.F.R 1.501(c)(3)-1(c)(3). This includes

   advocating for any ballot measure or legislative change in the law. It does not include

   education on public policy.

54. On information and belief, counties where Proposition 1 did not pass in 2015 will introduce

   or reintroduce Proposition 1 in 2016.

                                     THE LAW AT ISSUE

                                    PAC reporting in Utah

55. For the purposes of campaign finance reporting, Utah defines an “expenditure” as “a

   purchase, payment, donation, distribution, loan, advance, deposit, gift of money, or anything

   of value [or] . . . an express, legally enforceable contract, promise, or agreement to make any

   purchase, payment, donation, loan, advance, deposit, gift of money, or anything of value for

   political purposes.” Utah Code Ann. § 20A-11-101(15)(a)(ii-iii). It does not include such

   activities when “given by a reporting entity to candidates for office or officeholders in states

   other than Utah.” Utah Code Ann. § 20A-11-101(15)(b)(iii).

56. “‘Political purposes’ means an act done with the intent or in a way to influence or tend to

   influence, directly or indirectly, any person to refrain from voting or to vote for or against



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   any: candidate or a person seeking a municipal or county office at any caucus, political

   convention, or election.” Utah Code Ann. § 20A-11-101(40).

57. For the purposes of campaign finance reporting, Utah defines a “contribution” as a transfer of

   “anything of value” to a “filing entity . . . when done for political purposes.” Utah Code Ann.

   § 20A-11-101(6).

58. In general, those organizations with a major purpose of conducting expenditures are

   regulated as PACs.

59. Specifically, Utah defines PACs as those entities with “a major purpose” of “solicit[ing] or

   receiv[ing] contributions from any other person, group, or entity for political purposes; or . . .

   mak[ing] expenditures to expressly advocate for any person to refrain from voting or to vote

   for or against any candidate or person seeking election to a municipal or county office.” Utah

   Code Ann. § 20A-11-101(34)(a).

60. PACs must register annually with the Lieutenant Governor’s office. Utah Code Ann. § 20A-

   11-601(1)(a).

61. If an organization is organized after January 10th of a given year, it must register “no later

   than seven days after: (i) receiving contributions totaling at least $750; or (ii) distributing

   expenditures for political purposes totaling at least $50.” Utah Code Ann. § 20A-11-

   601(1)(b).

62. Registration triggers certain reporting requirements. See generally Utah Code Ann. § 20A-

   11-602.

63. Specifically, during a calendar year in which it has received at least $750 in contributions or

   made at least $50 in expenditures, a PAC must file a number of reports with the Lieutenant



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   Governor. A report is due “on January 10, reporting contributions and expenditures as of

   December 31 of the previous year.” Utah Code Ann. § 20A-11-602(1)(a)(i). Another is due

   “seven days before the state political convention of each major political party.” Utah Code

   Ann. § 20A-11-602(1)(a)(ii). When elections are scheduled, a PAC must report “seven days

   before the regular primary date.” Utah Code Ann. § 20A-11-602(1)(a)(iii). Another report is

   due “on September 30.” Utah Code Ann. § 20A-11-602(1)(a)(iv). Finally, reports are

   required “seven days before [both] the municipal general election; and . . . the regular general

   election date.” Utah Code Ann. § 20A-11-602(1)(a)(v).

64. These reports must include “a detailed listing of all contributions received and expenditures

   made since the last statement.” Utah Code Ann. § 20A-11-602(1)(b)(i).

65. These reports must also include the name and address of any individual or group that

   contributes to the PAC, as well as “the amount of the contribution.” Utah Code Ann. § 20A-

   11-602(2)(a)(i-iii).

66. “Contributions received by a political action committee that have a value of $50 or less need

   not be reported individually, but shall be listed on the report as an aggregate total.” Utah

   Code Ann. § 20A-11-602(2)(b)(i).

67. The PAC’s treasurer or chief financial officer must certify “that, to the best of the person’s

   knowledge, the financial report is accurate.” Utah Code Ann. § 20A-11-602(2)(a)(viii).

                                      PIC reporting in Utah.

68. For the purposes of campaign finance reporting, Utah defines a “political issues expenditure”

   by a PIC as “any payment from political issues contributions made for the purpose of




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   influencing the approval or defeat of: (A) a ballot proposition; or (B) an incorporation

   petition or incorporation election.” Utah Code Ann. § 20A-11-101(39)(a)(i).

69. It also means “a purchase, payment, distribution, loan, advance, deposit, or gift of money

   made for the express purpose of influencing the approval or the defeat of” such a proposition,

   petition, or election. Utah Code Ann. § 20A-11-101(39)(a)(ii).

70. This definition also encompasses legally enforceable contracts or agreements to make such

   expenditures. Utah Code Ann. § 20A-11-101(39)(a)(iii).

71. It also includes “goods or services provided to or for the benefit of another reporting entity at

   less than fair market value.” Utah Code Ann. § 20A-11-101(39)(a)(v).

72. Utah defines a “political issues contribution” as the giving of “anything of value . . . to a

   political issues committee,” or “an express, legally enforceable contract, promise, or

   agreement to make a political issues donation to influence the approval or defeat of any

   ballot proposition.” Utah Code Ann. §§ 20A-11-101(38)(a)(i-ii).

73. In general, organizations with a major purpose of conducting political issues expenditures are

   regulated as political issue committees.

74. Specifically, Utah regulates as PICs those entities with “a major purpose” of active

   involvement in the ballot initiative process by means of several possible activities. For one, if

   an entity is seeking or receiving donations “to assist in placing a ballot proposition on the

   ballot, assist in keeping a ballot proposition off the ballot, or to advocate that a voter refrain

   from voting or vote for or vote against any ballot proposition,” then it qualifies as a PIC.

   Utah Code Ann. § 20A-11-101(37)(a)(i).




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75. Similarly, if an entity has as a major purpose “mak[ing] expenditures to expressly advocate

   for any person to sign or refuse to sign a ballot proposition or incorporation petition or refrain

   from voting, vote for, or vote against any proposed ballot proposition or an incorporation in

   an incorporation election,” then it qualifies as a PIC. Utah Code Ann. § 20A-11-

   101(37)(a)(ii).

76. Finally, an entity may qualify as a PIC if a major purpose includes “mak[ing] expenditures to

   assist in the qualifying or placing a ballot proposition on the ballot or to assist in keeping a

   ballot proposition off the ballot.” Utah Code Ann. § 20A-11-101(37)(a)(iii).

77. PICs must register annually with the Lieutenant Governor’s office. Utah Code Ann. § 20A-

   11-801(1)(a).

78. If an organization is organized after the January 10th annual filing date, it must register “no

   later than seven days after: (i) receiving political issues contributions totaling at least $750;

   or (ii) disbursing political issues expenditures totaling at least $750.” Utah Code Ann. § 20A-

   11-801(1)(b).

79. PIC registration triggers many reporting requirements. See generally Utah Code Ann. § 20A-

   11-802.

80. PICs may need to report on additional days beyond those required of PACs. A report is due

   “on January 10, reporting contributions and expenditures as of December 31 of the previous

   year.” Utah Code Ann. § 20A-11-802(1)(a)(i). Another is due “seven days before the state

   political convention of each major political party.” Utah Code Ann. § 20A-11-802(1)(a)(ii).

   When elections are scheduled, a PIC must report “seven days before the regular primary

   election date.” Utah Code Ann. § 20A-11-802(1)(a)(iii). If the issue is about the



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   incorporation of a municipality, then a report is due “seven days before the date of [the]

   incorporation election.” Utah Code Ann. § 20A-11-802(1)(a)(iv). Another report is due “at

   least three days before the first public hearing” concerning the placement of an initiative on

   the ballot. Utah Code Ann. § 20A-11-802(1)(a)(v). Likewise, a report is due “if the political

   issues committee has received or expended funds in relation to an initiative or referendum, at

   the time the initiative or referendum sponsors submit: (A) the verified and certified initiative

   packets as required by Section 20A-7-206; or (B) the signed and verified referendum packets

   as required by Section 20A-7-306.” Utah Code Ann. § 20A-11-802(1)(a)(vi). Another report

   is due on September 30. Utah Code Ann. § 20A-11-802(1)(a)(vii). Finally, reports are

   required both “seven days before: (A) the municipal general election; and (B) the regular

   general election.” Utah Code Ann. § 20A-11-802(1)(a)(viii).

81. This report shall contain “a detailed listing of all contributions received and expenditures

   made since the last statement.” Utah Code Ann. § 20A-11-802(1)(b)(i).

82. “That statement shall include” the names and addresses of any individual or group that makes

   political issues contributions to the PIC, as well as “the amount of the political issues

   contribution.” Utah Code Ann. §§ 20A-11-802(2)(a)(i-iii).

83. “Political issues contributions received by a political issues committee that have a value of

   $50 or less need not be reported individually, but shall be listed on the report as an aggregate

   total.” Utah Code Ann. § 20A-11-802(2)(b)(i).

84. The report must also contain “a statement by the political issues committee’s . . . chief

   financial officer certifying that, to the best of the person’s knowledge, the financial statement

   is accurate.” Utah Code Ann. § 20A-11-802(2)(a)(ix).



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85. Neither the Utah Taxpayers Association, the Utah Taxpayers Legal Foundation, nor the

   Libertas Institute considers itself a PIC or a PAC.

                The new disclosure regime for “corporations” enacted by H.B. 43

86. In 2013, H.B. 43 went into effect, was codified at Utah Code Ann. § 20A-11-701, et seq, and

   created a new disclosure regime for “corporations” without the “major purpose” limitations

   found in the PAC and PIC disclosure provisions. Utah Code Ann. § 20A-11-101(8) (defining

   “corporation” for purposes of campaign finance reporting).

87. This new reporting scheme applies to “[e]ach corporation that has made expenditures for

   political purposes that total at least $750 during a calendar year.” Utah Code Ann. § 20A-11-

   701(1)(a).

88. A substantially similar reporting regime also applies to “[e]ach corporation that has made

   political issues expenditures on current or proposed ballot issues that total at least $750

   during a calendar year.” Utah Code Ann. § 20A-11-702(1)(a).

89. Unlike PICs and PACs, which have to report “contributor” information, H.B. 43 created a

   new class of reportable giver—a “donor.” Under Utah law, a “donor” is defined as “a person

   that gives money, including a fee, due, or assessment for membership in the corporation, to a

   corporation without receiving full and adequate consideration for the money.” Utah Code

   Ann. § 20A-11-101(12)(a). This “does not include a person that signs a statement that the

   corporation may not use the money for an expenditure or political issues expenditure.” Id. at

   § 20A-11-101(12)(b).

90. Under H.B. 43, each corporation making at least $750 in political purpose expenditures must

   “file a verified financial statement with the lieutenant governor’s office.” Utah Code Ann.



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   § 20A-11-701(1)(a); see also Utah Code Ann. § 20A-11-702(1)(a) (same for corporations

   making political issue expenditures).

91. Again, Utah law contains triggering events requiring that corporations file disclosure reports

   throughout the year. Reports are due “on January 10, reporting expenditures as of December

   31 of the previous year.” Utah Code Ann. § 20A-11-701(1)(a)(i). Reports are due “seven

   days before the state political convention for each major party.” Utah Code Ann. § 20A-11-

   701(1)(a)(ii). Corporations must file additional reports “seven days before the regular

   primary election date.” Utah Code Ann. § 20A-11-701(1)(a)(iii). They must again file reports

   on September 30. Utah Code Ann. § 20A-11-701(1)(a)(iv). Finally, corporations must file

   reports “seven days before the regular general election date.” Utah Code Ann. § 20A-11-

   701(1)(a)(v); see also Utah Code Ann. § 20A-11-702(1)(a)(i-v) (same for corporations

   making political issue expenditures).

92. The statement requires that a corporation either “report . . . the money received from donors

   during the calendar year or the previous calendar year that the corporation has not reported in

   a previous financial statement,” or that it report that it “did not receive any money from any

   donor during the calendar year or the previous calendar year that the corporation has not

   reported in a previous financial statement.” Utah Code Ann. § 20A-11-701(2)(c)(i-ii); see

   also Utah Code Ann. § 20A-11-702(2)(c)(i-ii) (same for corporations making political issues

   expenditures).

93. This report “shall include: (i) the name and address of each donor; (ii) the amount of the

   money received by the corporation from each donor; and (iii) the date on which the




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   corporation received the money.” Utah Code Ann. § 20A-11-701(3)(a); Utah Code Ann.

   § 20A-11-702(3)(a) (same for corporations making political issues expenditures).

94. Utah law requires that this donor information be disclosed in a particular way. The disclosure

   scheme is the same whether the corporation makes “expenditures” or “political issue

   expenditures.” Compare Utah Code Ann. § 20A-11-701(3)(b) (disclosure for corporations

   making expenditures), with Utah Code Ann. § 20A-11-702(3)(b) (disclosure for corporations

   making political issue expenditures).

95. “[F]irst, beginning with the least recent date on which the corporation received money that

   the corporation has not reported in a previous financial statement, the money received from a

   donor that: (A) requests that the corporation use the money to make an expenditure; (B) gives

   the money to the corporation in response to a solicitation indicating the corporation’s intent

   to make an expenditure; or (C) knows that the corporation may use the money to make an

   expenditure.” Utah Code Ann. § 20A-11-701(3)(b)(i); see also Utah Code Ann. § 20A-11-

   702(3)(b)(i) (same for political issues expenditure).

96. “[S]econd, divide the difference between the total amount of expenditures made since the last

   financial statement and the total amount of money reported under Subsection (3)(b)(i) on a

   proration basis between all donors that: (A) are not described in Subsection (3)(b)(i); (B)

   gave at least $50 during the calendar year or previous calendar year; and (C) have not been

   reported in a previous financial statement.” Utah Code Ann. § 20A-11-701(3)(b)(ii); see also

   Utah Code Ann. § 20A-11-702(3)(b)(ii) (same for political issues expenditure).

97. But, “[i]f the amount reported under Section 3(b) is less than the total amount of expenditures

   made since the last financial statement, the financial statement shall contain a statement that



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   the corporation has reported all donors that gave money, and all money received by donors,

   during the calendar year or previous calendar year that the corporation has not reported in a

   previous financial statement.” Utah Code Ann. § 20A-11-701(3)(c); see also Utah Code Ann.

   § 20A-11-702(3)(c) (same for political issues expenditure).

98. “The corporation shall indicate on the financial statement that the amount attributed to each

   donor under Subsection (3)(b)(ii) is only an estimate.” Utah Code Ann. §§ 20A-11-701(3)(d);

   20A-11-702(3)(d).

99. These reports are made publicly available—including the names and addresses of donors—

   on the Internet in accordance with Utah Code Ann. § 20A-11-103(4)(b) (requiring that “an

   electronic copy or the contents of each financial statement” be available “in a searchable

   format on a website established by the lieutenant governor”).

       Utah’s regulation of labor organizations involved in election-related activities.

100.   Utah also regulates “labor organization[s] that . . . ma[k]e expenditures for political

   purposes or political issues expenditures on current or proposed ballot issues that total at least

   $750 during a calendar year.” Utah Code Ann. § 20A-11-1502(1)(a).

101.   Labor organizations must file fewer reports than corporations, however. Id. (listing four

   reporting deadlines—January 10, seven days before a primary, September 30, and seven days

   before a general election—rather than five).

102.   Utah law favors labor organizations even more by not forcing them to reveal to the

   Lieutenant Governor the names and addresses of their donors. See Utah Code Ann. § 20A-

   11-1502(1)(b) (requiring only the reporting of expenditures, not of donors or contributors).




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       Criminal and civil penalties are levied against corporations that violate Utah’s new
                                        disclosure regime.

103.     Utah law requires that the Lieutenant Governor impose a $100 fine “[i]f it appears that

   any corporation has failed to file any statement, if it appears that a filed statement does not

   conform to the law, or if the lieutenant governor has received a written complaint alleging a

   violation of the law or the falsity of any statement.” Utah Code Ann. §§ 20A-11-703(2)(a);

   20A-11-1005.

104.     “[W]ithin five days of discovery” of such a violation or allegation, the Lieutenant

   Governor must “notify the corporation of the violation or written complaint and direct the

   corporation to file a statement correcting the problem.” Utah Code Ann. § 20A-11-703(2)(b).

105.      If the corporation “fail[s] to file or amend” its report “within seven days after receiving

   notice from the lieutenant governor,” the corporation “is guilty of a class B misdemeanor.”

   Utah Code Ann. § 20A-11-703(3)(a) and (b).

106.     The Lieutenant Governor must report any failure to file or amend a statement after notice

   “to the attorney general.” Utah Code Ann. § 20A-11-703(3)(c).

107.     “In addition to . . . criminal” liability, the Lieutenant Governor must “impose a civil fine

   of $1,000 against a corporation” that fails to file or amend a statement after notice. Utah

   Code Ann. § 20A-11-703(3)(d).

              H.B. 43 imposes a new compelled speech regime on “corporations.”

108.     “If a corporation makes expenditures that total at least $750 during a calendar year, the

   corporation shall notify a person giving money to the corporation that: (a) the corporation

   may use the money to make an expenditure; and (b) the person’s name and address may be

   disclosed on the corporation’s financial statement.” Utah Code Ann. § 20A-11-701(4); see


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   also Utah Code Ann. § 20A-11-702(4) (same for corporations making “political issues

   expenditures”).

109.   A similar compelled speech regime does not apply to labor organizations. Compare Utah

   Code Ann. §§ 20A-11-701(4) (expenditures regulation of corporations), and 20A-11-702(4)

   (political issues expenditures regulation of corporations), with Utah Code Ann. § 20A-11-

   1502 (regulation of unions).

110.   The Lieutenant Governor is empowered to enforce this mandate. Utah Code Ann. § 20A-

   11-703(2).

111.   The Utah Taxpayers Association wishes to make expenditures and political issues

   expenditures, and the Utah Taxpayers Legal Foundation and Libertas Institute wish to make

   political issues expenditures, to the extent they can understand the law. See Utah Code Ann.

   §§ 20A-11-101(15)(a)(ii) (defining “[e]xpenditure” as any “payment . . . made for political

   purposes”) and 20A-11-101(39)(a)(ii)(A) (defining “[p]olitical issues expenditure” as any

   “payment . . . made for the express purpose of influencing the approval or the defeat of . . . a

   ballot proposition”).

             The First Amendment, political committee status, and disclosure.

112.   The First Amendment protects the right of citizens “to pursue their lawful private

   interests privately and to associate freely with others in so doing.” NAACP v. Ala. ex rel.

   Patterson, 357 U.S. 449, 466 (1958). Accordingly, “compelled disclosure imposes . . .

   significant encroachments on [the] First Amendment rights” of free association. Buckley v.

   Valeo, 424 U.S. 1, 64 (1976).




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113.     Furthermore, requiring an organization “to assume a more sophisticated organizational

   form, to adopt specific accounting procedures, [and] to file periodic detailed reports,” also

   imposes burdens upon the exercise of First Amendment rights by turning “protected speech

   [into] a severely demanding task.” FEC v. Mass. Citizens for Life, Inc., 479 U.S. 238, 255,

   256 (1986) (“MCFL”) (Brennan, J., plurality opinion); see also id. at 265-66 (O’Connor, J.,

   concurring).

114.     Complex and burdensome accounting procedures “create a disincentive for such

   organizations to engage in political speech.” Id. at 254 (Brennan, J., plurality opinion); see

   also id. at 265 (O’Connor, J., concurring) (“In Buckley, the Court was concerned not only

   with the chilling effect of reporting and disclosure requirements on an organization’s

   contributors, but also with the potential burden of disclosure requirements on a group’s own

   speech.” (citation omitted)).

115.     Given these concerns, “the subordinating interests of the State must survive exacting

   scrutiny.” Buckley, 424 U.S. at 64. Exacting scrutiny is a “strict test.” Buckley, 424 U.S. at

   66.

116.     Under exacting scrutiny, a court must “rigorous[ly] review” the government’s

   infringement of fundamental liberties and “must assess the fit between the stated

   governmental objective and the means selected to achieve that objective.” McCutcheon v.

   FEC, 572 U.S. ___, ___, 134 S. Ct. 1434, 1445-46 (2014) (citations omitted) (internal

   quotation marks omitted).

117.     In bearing its burden, the State must demonstrate “a ‘substantial relation’ between the

   disclosure requirement and a ‘sufficiently important’ governmental interest.” Citizens United



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   v. FEC, 558 U.S. 310, 366-67 (2010) (quoting Buckley, 424 U.S. at 64, 66); see also Free

   Speech v. FEC, 720 F.3d 788, 793 (10th Cir. 2013) (observing same, citing Citizens United);

   Sampson v. Buescher, 625 F.3d 1247, 1261 (10th Cir. 2010) (observing same).

118.   In the context of speech about ballot measures, as opposed to candidates, the only

   applicable government interest is “the informational interest[—]the public interest in

   knowing who is spending and receiving money to support or oppose a ballot issue.”

   Sampson, 625 F.3d at 1256 (rejecting other proffered governmental interests, such as

   deterring corruption).

119.   In this context, the Tenth Circuit has expressed doubts concerning the government’s

   ability to advance the informational interest by means of compelled registration and

   disclosure. Id. (“It is not obvious that there is such a public interest.”).

120.   Under binding law in this Circuit, Plaintiffs may only be regulated as political

   committees and required to file reports disclosing their contributors if—at a minimum—

   obtaining specific electoral outcomes is their “major purpose,” N.M. Youth Organized v.

   Herrera, 611 F.3d 669, 677 (10th Cir. 2010) (citing Buckley, 424 U.S. at 79), and the State’s

   political committee laws may be construed in such a way, “consistent with the legislature’s

   purpose, to avoid the shoals of vagueness,” Buckley, 424 U.S. at 78.

                         The First Amendment and compelled speech.

121.   The Tenth Circuit has upheld disclaimer laws when they require only the identifying

   information of the person or group authorizing a communication, because such tailoring is a

   “minimally restrictive method of ensuring . . . that the ads are not funded by a candidate.”

   Free Speech, 720 F.3d at 796 (upholding federal disclaimer law for advertising and



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   solicitations, which required specified identifying information about the person or group

   authorizing the communication).

122.   Utah’s law goes much further, requiring that solicitations state that “the corporation may

   use the money to make an expenditure; and . . . the person’s name and address may be

   disclosed on the corporation’s financial statement.” Utah Code Ann. § 20A-11-701(4)(a-b);

   see also Utah Code Ann. § 20A-11-702(4)(a-b) (same for political issues expenditure).

123.   Thus, rather than simply identifying the solicitor, Utah law imposes a compelled speech

   requirement on those raising funds.

124.   “There is certainly some difference between compelled speech and compelled silence, but

   in the context of protected speech, the difference is without constitutional significance, for

   the First Amendment guarantees . . . the decision of both what to say and what not to say.”

   Riley v. Nat’l Fed. of the Blind, 487 U.S. 781, 796-97 (1988).

125.   Even in cases where the state’s mandate would simply provide “factual information” that

   “might be relevant to the listener, and . . . could encourage or discourage the listener from

   making a political donation,” a compelled speech statute still “clearly and substantially

   burden[s] . . . protected speech” and “is subject to exacting First Amendment scrutiny.”

   Riley, 487 U.S. at 798; Cressman v. Thompson, 719 F.3d 1139, 1152 (10th Cir. 2013) (“the

   general rule[ is] that the speaker has the right to tailor the speech . . . not only to expressions

   of value, opinion, or endorsement, but equally to statements of fact the speaker would rather

   avoid” (internal quotation marks omitted)).

126.   The solicitation of funds for a nonprofit corporation is “fully protected speech.” Bd. of

   Trs. of the State Univ. of N.Y. v. Fox, 492 U.S. 469, 474 (1989).



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127.     Indeed, “[t]he constitutional harm of compelled speech—‘being forced to speak rather

   than to remain silent’—‘occurs regardless of whether the speech is ideological.’” Cressman,

   719 F.3d at 1152 (quoting Axson-Flynn v. Johnson, 356 F.3d 1277, 1284 n.4 (10th Cir.

   2004)).

128.    Utah has neither advanced a sufficiently important rationale for its compelled speech

   statute nor demonstrated that it is substantially related to an important governmental interest.

       Equal protection doctrine in the context of corporations and labor organizations.

129.    Although the Supreme Court has since ruled it unconstitutional, the Court at one point

   upheld campaign finance laws that treated labor organizations differently from corporate

   entities. See Austin v. Mich. Chamber of Commerce, 494 U.S. 652, 665-66 (1990) (upholding

   law that did not regulate unincorporated labor unions); see also Citizens United , 558 U.S. at

   365 (overruling Austin for its unequal treatment of corporations).

130.    The Austin Court upheld that unequal treatment on grounds that are no longer good law.

   Such discredited justifications for discriminatory treatment included the supposedly

   “corrosive effect of [corporate] political ‘war chests,’” Austin, 494 U.S. at 666, as well as the

   supposedly “corrosive and distorting effects of immense aggregations of wealth that are

   accumulated with the help of the corporate form and that have little or no correlation to the

   public’s support for the corporation’s political ideas,” id. at 660. On the other hand, the

   Austin Court held that unincorporated labor unions could receive preferential treatment

   because they did not share corporations’ “state-conferred advantages” and because “the funds

   available for a union’s political activities more accurately reflects [sic] [union] members’




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   support for the organization’s political views than does a corporation’s general treasury.” 494

   U.S. at 665-666.

131.   The Citizens United Court rejected this rationale and overruled Austin. Citizens United,

   558 U.S. at 341-356, 365 (“Austin is overruled,” in part, because of the invalidity of that

   opinion’s anti-corporate and anti-distortion rationales). Indeed, the Citizens United Court

   held that “[n]o sufficient governmental interest justifies limits on the political speech of

   nonprofit or for-profit corporations.” Id. at 365.

132.   It is disputed in the Tenth Circuit whether campaign finance laws that infringe upon the

   Equal Protection Clause are subject to traditional strict scrutiny or may be reviewed under

   exacting scrutiny. Riddle v. Hickenlooper, 742 F.3d 922, 927-28 (10th Cir. 2014).

133.   Either way, “state officials . . . bear the burden of proof” in showing that the

   government’s statutory classifications survive constitutional review. Id. at 928.

134.   The State has advanced no constitutionally cognizable rationale as to why Utah treats

   labor organizations engaged in precisely the same form of speech as Plaintiffs with a softer

   touch. And, weighing Plaintiffs’ First Amendment interests against the lack of

   constitutionally cognizable rationale, “‘something . . . outweighs nothing every time.’”

   SpeechNow.org v. FEC, 599 F.3d 686, 695 (D.C. Cir. 2010) (en banc) (quoting Nat’l Ass’n

   of Retired Fed. Emps. v. Horner, 879 F.2d 873, 879 (D.C. Cir. 1989)) (alteration in

   SpeechNow.org).




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                                    CAUSES OF ACTION

                                        Count 1
  Declaratory judgment that Utah’s definition of “political purposes” at Utah Code Ann.
                § 20A-11-101(40) is unconstitutionally void for vagueness.

135.   Plaintiffs re-allege and incorporate by reference the foregoing paragraphs as if set forth

   fully herein.

136.   Utah defines “political purposes” as “act[s] done with the intent to or in a way to

   influence or tend to influence, directly or indirectly, any person to refrain from voting or to

   vote for or against any . . . candidate or a person seeking a municipal or county office at any

   caucus, political convention, or election.” Utah Code Ann. § 20A-11-101(40)(a).

137.   Laws whose “prohibitions are not clearly defined” are “void for vagueness” because they

   “trap the innocent by not providing fair warning.” Grayned v. City of Rockford, 408 U.S.

   104, 108 (1972).

138.   This is particularly true “where a vague statute abut[s] upon sensitive areas of basic First

   Amendment freedoms . . . Uncertain meanings inevitably lead citizens to steer far wider of

   the unlawful zone . . . than if the boundaries of the forbidden areas were clearly marked.” Id.

   at 109 (internal quotation marks omitted).

139.   “The First Amendment does not permit laws that force speakers to retain a campaign

   finance attorney . . . or seek declaratory rulings before discussing the most salient political

   issues of our day.” Citizens United, 558 U.S. at 324.

140.   Yet, by attempting to regulate speech and association that is “done . . . in a way to

   influence . . . , directly or indirectly,” certain electoral outcomes, Utah Code Ann. § 20A-11-




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   101(40)(a), the state of Utah forces speakers to retain an attorney or to seek a declaratory

   ruling before daring to speak.

141.   The term “indirectly influencing” is inherently vague, and there is no available narrowing

   construction to rescue this definition “consistent with the legislature’s purpose, to avoid the

   shoals of vagueness.” Buckley, 424 U.S. at 78.

142.   Accordingly, Plaintiff Utah Taxpayers Association is entitled to a declaration that the

   “political purposes” definition of Utah Code Ann. § 20A-11-101(40) is unconstitutional, as

   are all provisions of the law that rely upon it, under the First and Fourteenth Amendments to

   the United States Constitution.

                                       Count 2
 Declaratory judgment regarding definition of “political issues expenditure” under Utah
                            Code Ann. § 20A-11-101(39).

143.   Plaintiffs re-allege and incorporate by reference the foregoing paragraphs as if set forth

   fully herein.

144.   Utah law regulates as “political issues expenditures” those expenditures “made for the

   purpose of influencing the approval or the defeat of . . . a ballot proposition; or . . . an

   incorporation petition or incorporation election.” Utah Code Ann. § 20A-11-101(39)(a)(i).

145.   But such a definition has consistently been found to be unconstitutionally vague. In

   Buckley, the Supreme Court grappled with a law defining “expenditures” “in terms of the use

   of money or other valuable assets for the purpose of . . . influencing the nomination or

   election of candidates.” 424 U.S. at 77 (internal quotation marks omitted). The Buckley Court

   recognized “[i]t is the ambiguity of this phrase that poses constitutional problems.” Id.




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146.   Accordingly, Plaintiffs are entitled to a declaration that Utah Code Ann. § 20A-11-

   101(39) is unconstitutionally vague, facially and as-applied, under the First and Fourteenth

   Amendments to the United States Constitution.

                                     Count 3
  Declaratory judgment regarding campaign financial reporting for corporations under
                   Utah Code Ann. §§ 20A-11-701 and 20A-11-702.

147.   Plaintiffs re-allege and incorporate by reference the foregoing paragraphs as if set forth

   fully herein.

148.   Utah’s regime, which applies to any corporation spending more than $750, imposes

   essentially the “full panoply” of Utah’s state PAC or PIC burdens on corporations making

   either “expenditures for political purposes” or “political issues expenditures.” See Utah Code

   Ann. §§ 20A-11-701 and 20A-11-702.

149.   Regulatory and disclosure burdens to this extent are impermissible, unless an

   organization’s “major purpose” is the making of such expenditures. Buckley, 424 U.S. at 79-

   81; MCFL, 479 U.S. at 262 (no compelled disclosure required of corporation unless its

   “independent spending become[s] so extensive that the organization’s major purpose may be

   regarded as campaign activity”); Nat’l Right to Work Legal Def. & Educ. Found., Inc. v.

   Herbert, 581 F. Supp. 2d 1132, 1141-42 (D. Utah 2008) (quoting Buckley, 424 U.S. at 79)

   (discussing Buckley’s limitation of disclosure requirements to organizations with the major

   purpose of making expenditures).

150.   But Utah Code Ann. §§ 20A-11-701 and 20A-11-702, on their face, cover groups that

   only incidentally engage in such activity.




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151.   Moreover, making expenditures for political purposes or political issues expenditures is

   not the major purpose of the Utah Taxpayers Association, which limits such expenditures to

   under 20% of its budget. In addition, making such expenditures is not a major purpose of the

   Utah Taxpayers Legal Foundation or the Libertas Institute, which cannot make expenditures

   for political purposes under federal law, see IRC § 501(c)(3), and which limit any political

   issues expenditures to under 20% of their budgets.

152.   Accordingly, Plaintiffs are entitled to a declaration that Utah Code Ann. §§ 20A-11-701

   and 20A-11-702 are unconstitutionally vague and overbroad, facially and as-applied, under

   the First and Fourteenth Amendments to the United States Constitution.

                                       Count 4
 Declaratory judgment that Utah’s system of prorated disclosure reporting, at Utah Code
              Ann. §§ 20A-11-701(3) and 20A-11-702(3), is unconstitutional.

153.   Plaintiffs re-allege and incorporate by reference the foregoing paragraphs as if set forth

   fully herein.

154.   As discussed supra, the burden is on the state to demonstrate that its disclosure laws bear

   “a substantial relation between the disclosure requirement and a sufficiently important

   governmental interest.” Citizens United, 558 U.S. at 366-67 (internal quotation marks

   omitted).

155.   The Supreme Court has upheld disclosure laws under this exacting scrutiny standard “on

   the ground that they would help citizens ‘make informed choices in the political

   marketplace.’” Citizens United, 558 U.S. at 367 (quoting McConnell v. FEC, 540 U.S. 93,

   197 (2003)).




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156.   But, the proration disclosure system is not closely drawn to achieve the aim of helping

   citizens make informed choices. For example, the system requires that corporations report

   what the law acknowledges are only “estimate[s],” attributing to a small subset of donors

   potentially large sums of money not donated by them. See Utah Code Ann. §§ 20A-11-

   701(3)(b) and (d) and Utah Code Ann. §§ 20A-11-702(3)(b) and (d) (requiring that

   corporations “estimate” the expenditures that did not come from donations knowingly

   designated for such expenditures, attribute all these donations to only the donors who gave at

   least $50 in such donations, and report these donors). Such disclosures will only confuse

   voters about who is supporting candidates and ballot propositions, and about the extent of

   their support.

157.   Furthermore, the complex accounting procedures of the proration system and the dislike

   that some grassroots supporters may have for the inaccurate overreporting of their donations

   will impermissibly lead fewer corporations to discuss issues and candidates. See Citizens

   United, 558 U.S. at 365 (“No sufficient governmental interest justifies limits on the political

   speech of nonprofit or for-profit corporations.”); id. at 361 (“it is our law and our tradition

   that more speech, not less, is the governing rule”); Buckley, 424 U.S. at 48-49 (“the concept

   that government may restrict the speech of some elements of our society in order to enhance

   the relative voice of others is wholly foreign to the First Amendment”).

158.   Moreover, the law will inevitably compel the disclosure of the names and addresses of

   donors whose contributions do not fund unambiguously campaign related activities. Nat’l

   Right to Work, 581 F. Supp. 2d at 1146 (“Therefore, before applying exacting scrutiny by

   determining whether the information sought by the state of Utah through its disclosure



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   requirements bears a substantial relation to the government's interests, the court must first

   determine whether the activities being regulated are unambiguously campaign related.”); id.

   at 1148-1149 (“disclosure requirements may constitutionally be imposed only when they

   regulate activities that are unambiguously campaign related. These include: (1) contributions

   made by individuals or entities to a campaign or in coordination with a campaign; (2)

   expenditures made by individuals or entities for communications that expressly advocate for

   a candidate or initiative -- or its functional equivalent; and (3) expenditures made by

   candidates and political committees.” (citation omitted)).

159.    Accordingly, Plaintiffs are entitled to a declaration that Utah Code Ann. §§ 20A-11-

   701(3) and 20A-11-702(3) are unconstitutionally vague and overbroad, facially and as-

   applied, under the First and Fourteenth Amendments to the United States Constitution.

                                          Count 5
       Declaratory ruling regarding the compelled speech provisions of Utah Code Ann.
                             §§ 20A-11-701(4) and 20A-11-702(4).

160.    Plaintiffs re-allege and incorporate by reference the foregoing paragraphs as if set forth

   fully herein.

161.    As a general rule, the government may not compel its citizens to utter specific speech.

   Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc., 133 S. Ct. 2321, 2327 (2013) (“It

   is . . . a basic First Amendment principle that freedom of speech prohibits the government

   from telling people what they must say.” (internal quotation marks omitted)); Riley, 487 U.S.

   at 797-98 (compelled statements of both opinion and fact burden speech); Wooley v.

   Maynard, 430 U.S. 705, 714 (1977) (government may not compel certain political speech).




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162.   Because the solicitation of financial contributions is fully protected First Amendment

   speech, compelling solicitors to state the government’s speech “is subject to exacting First

   Amendment scrutiny.” Riley, 487 U.S. at 798.

163.   Yet, there is no substantial relation to a cognizable governmental interest in requiring that

   once a corporation spends $750 on expenditures or political issue expenditures, that said

   corporation must “notify a person giving money to the corporation that . . . the corporation

   may use the money to make an expenditure [or political issues expenditure]; and . . . the

   person’s name and address may be disclosed on the corporation’s financial statement.” Utah

   Code Ann. §§ 20A-11-701(4); 20A-11-702(4).

164.   At a minimum, such a law cannot stand as applied to entities like the Plaintiffs, which do

   not have the major purpose of making such expenditures.

165.   Accordingly, Plaintiffs are entitled to a declaration that Utah Code Ann. §§ 20A-11-

   701(4) and 20A-11-702(4) are unconstitutionally vague and overbroad, facially and as-

   applied.

                                            Count 6
       Declaratory judgment that Utah Code Ann. §§ 20A-11-701 and 20A-11-702 are
       unconstitutional as a violation of the Equal Protection Clause of the Fourteenth
                                          Amendment.

166.   Although Utah imposes substantial disclosure and reporting requirements on corporations

   who engage in regulated political speech activities, it imposes a vastly lighter burden upon

   labor organizations that do the same. Compare Utah Code Ann. §§ 20A-11-701, and 20A-11-

   702 (corporations), with Utah Code Ann. § 20A-11-1502 (unions).

167.   “Because the right to engage in political expression is fundamental to our constitutional

   system, statutory classifications impinging upon that right must be narrowly tailored to serve


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   a compelling governmental interest.” Austin, 494 U.S. at 666, overruled on other grounds by

   Citizens United, 558 U.S. at 365.

168.   At a minimum, such distinctions must pass exacting scrutiny. See Buckley, 424 U.S. at

   64, 66; Riddle, 742 F.3d at 928.

169.   Yet, the government can point to no record that would cognize imposing significant

   disclosure and reporting requirements upon corporations, but not on labor organizations. The

   discredited grounds of Austin—such as the supposedly “corrosive effect of political ‘war

   chests’ amassed with the aid of the legal advantages given to corporations”—are certainly

   insufficient. Austin, 494 U.S. at 666; see Citizens United, 558 U.S. at 341-356, 365 (rejecting

   grounds for discriminating against corporate speech, including the antidistortion rationale);

   Buckley, 424 U.S. at 704-05 (“the concept that government may restrict the speech of some

   elements of our society in order to enhance the relative voice of others is wholly foreign to

   the First Amendment”).

170.   At a minimum, there is no cognizable interest in imposing greater burdens upon Plaintiffs

   than labor organizations.

171.   Accordingly, Plaintiffs are entitled to a declaration that Utah Code Ann. §§ 20A-11-701

   and 20A-11-702 are unconstitutional, facially and as-applied, to the extent that they impose

   greater burdens upon corporations than are placed upon labor organizations under Utah Code

   Ann. § 20A-11-1502.

                                     PRAYERS FOR RELIEF

WHEREFORE, Plaintiffs Utah Taxpayers Association, Utah Taxpayers Legal Association, and

Libertas Institute pray for the following relief:



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A. A declaration that Utah’s definition of “political purposes” at Utah Code Ann. § 20A-11-

   101(40) and all portions of Utah campaign finance law relying thereupon are facially

   unconstitutional on vagueness grounds, pursuant to the First and Fourteenth Amendments.

B. A declaration that Utah’s definition of “political issues expenditure” at Utah Code Ann.

   § 20A-11-101(39) and all portions of Utah campaign finance law relying thereupon are

   unconstitutional, facially and as-applied, on vagueness grounds, pursuant to the First and

   Fourteenth Amendments.

C. A declaratory judgment that campaign financial reporting for corporations under Utah Code

   Ann. §§ 20A-11-701 and 20A-11-702 is unconstitutional, facially and as-applied to

   Plaintiffs, under the First and Fourteenth Amendments.

D. A declaratory judgment that Utah’s system of prorated disclosure reporting, at Utah Code

   Ann. §§ 20A-11-701(3) and 20A-11-702(3), is unconstitutional, facially and as-applied to

   Plaintiffs, under the First and Fourteenth Amendments.

E. A declaratory judgment that the compelled speech provisions of Utah Code Ann. §§ 20A-11-

   701(4) and 20A-11-702(4) are unconstitutional, facially and as-applied to Plaintiffs, under

   the First and Fourteenth Amendments.

F. A declaratory judgment that Utah Code Ann. §§ 20A-11-701 and 20A-11-702 are

   unconstitutional as a violation of the Equal Protection Clause of the Fourteenth Amendment.

G. An injunction barring enforcement of the provisions of Utah law listed in prayers for relief

   A-F.

H. Reasonable costs and attorney’s fees.

I. Such equitable or other relief as this Court may consider just and appropriate.



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Respectfully submitted this 17th day of November, 2015.

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